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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


 EQUAL EMPLOYMENT
 OPPORTUNITY COMMISSION,                          Case No. 4:10-cv-608-CWD

                     Plaintiff,                   ORDER

         v.

 NORTHWEST COSMETIC LABS,

                     Defendant.


       The Court having considered the stipulated agreement of the parties, IT IS

HEREBY ORDERED that the Consent Decree filed by the parties (Dkt. No. 3) is

approved as the final decree of this Court in full settlement of this action. This lawsuit is

hereby dismissed with prejudice and without costs or attorneys’ fees to any party. The

Court retains jurisdiction of this matter for purposes of enforcing the Consent Decree

approved herein.

                                                  DATED: January 12, 2011



                                                  Honorable Candy W. Dale
                                                  Chief United States Magistrate Judge




ORDER - 1
